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              (erroneously sued as Goodfellow Top Grade)
            7

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            9 501 Lisa Ann Court
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           10 Telephone: 510.932.6266

           11 Plaintiff in Pro Se

           12                                   UNITED STATES DISTRICT COURT

           13                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

           14

           15 TRINA HILL,                                        CASE NO. 4:18-cv-01474-HSG

           16                      Plaintiff,                    REVISED PROPOSED STIPULATION
                                                                 AND ORDER REGARDING
           17             vs.                                    SCHEDULING
           18 GOODFELLOW TOP GRADE,

           19                      Defendant.

           20

           21            Plaintiff TRINA HILL (“Plaintiff”) and Defendant GOODFELLOW TOP GRADE
           22 CONSTRUCTION LLC (“Defendant”) agree and stipulate regarding the following proposed

           23 schedule:

           24            1. Last day to Amend Pleadings: October 1, 2018
           25            2. Settlement Conference/Mediation: January 2019
           26            3. Non-Expert Discovery Cut-Off: February 15, 2019
           27            4. Dispositive Motion Filing Cut-Off: March 15, 2019
           28            5. Expert Disclosures: March 29, 2019
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BRISBOI                                                          1                            4:18-cv-01474-HSG
S                                                    STIPULATION AND ORDER
BISGAARD
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            1            6. Expert Discovery Cut-Off: May 1, 2019

            2            7. Pre-Trial Conference: July 30 2019

            3            8. Jury Trial: August 13, 2019

            4            IT IS SO STIPULATED AND AGREED:

            5 DATED: September 19, 2018                      LEWIS BRISBOIS BISGAARD & SMITH          LLP

            6                                        By:     /s/ Allison L. Shrallow
                                                             Joseph R. Lordan
            7                                                Allison L. Shrallow
                                                             Attorneys for Defendant GOODFELLOW TOP GRADE
            8                                                CONSTRUCTION, LLC

            9
                DATED: September 19, 2018
           10

           11

           12                                              By: /s/Trina Hill
                                                               Trina Hill
           13                                                  Plaintiff In Pro Se

           14
                                                             ORDER
           15
                    PURSUANT TO STIPULATION, IT IS SO ORDERED except the jury trial will begin
           16 on Monday, August 12, 2019 at 8:30 a.m.

           17
                DATED: September 19, 2018
           18

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           20                                                 Hon. Haywood S. Gilliam, Jr.
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